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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-366V
                                      Filed: June 13, 2016
                                         UNPUBLISHED

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SHELLEY NORRIS,                         *
                                        *
                   Petitioner,          *      Ruling on Entitlement; Concession;
v.                                      *      Influenza;
                                        *      Shoulder Injury (“SIRVA”);
SECRETARY OF HEALTH                     *      Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                     *
                                        *
                   Respondent.          *
                                        *
****************************
Alison Haskins, Maglio, Christopher, and Toale, PA, Sarasota, FL, for petitioner.
Alexis Babcock, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT 1

Dorsey, Chief Special Master:

        On March 21, 2016, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury that was caused-
in-fact by her October 13, 2014 influenza vaccination. Petition at 1. The case was
assigned to the Special Processing Unit of the Office of Special Masters.

        On June 13, 2016, respondent filed her Rule 4(c) report in which she concedes
that petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report
at 1. Specifically, respondent “concluded that petitioner’s alleged injury is consistent
with shoulder injury related to vaccine administration (“SIRVA”), and that it was caused
in fact by the flu vaccine she received on October 13, 2014.” Id. at 3. Respondent
further agrees that no other cause for petitioner’s injury has been identified, that


1 Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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petitioner suffered the sequela of her injury for more than six months, and that petitioner
has satisfied all legal prerequisites for compensation under the Vaccine Act. Id. at 3-4.

     In view of respondent’s concession and the evidence before me, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Nora Beth Dorsey
                                   Nora Beth Dorsey
                                   Chief Special Master




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